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                    Exhibit 2
                   Map of Maui
                     County
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  Attorneys for Plaintiffs

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

                                      )
  JASON WOLFORD, ALISON               )
  WOLFORD, ATOM KASPRZYCKI,          )
  HAWAII FIREARMS COALITION           )
                                      )
  Plaintiffs,                         )
                                      ) Civil Action No. 1:23-cv-00265-
                                      ) LEK-WRP
  v.                                  )
                                      )
  ANNE E. LOPEZ, IN HER OFFICIAL      )
  CAPACITY AS THE ATTORNEY            )
  GENERAL OF THE STATE OF HAWAII, )
                                      )
                                      )
  Defendant                           )
  ____________________________________)
Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 3 of 12 PageID.1268




         SUPPLEMENTAL DECLARATION OF ATOM KASPRZYCKI

  COMES NOW, Atom Kasprzycki and states as follows:

     1. I am a natural person, an adult male, United States of America citizen,

        resident of the State of Hawaii and County Maui. If called as a witness in

        this matter, I would provide the following testimony and I make this

        declaration based on personal knowledge, except where otherwise stated;

     2. I am a licensed architect by trade.

     3. The attached maps were created by myself and my staff while working

        under my supervision.

     4. The maps were created using publicly available information obtained from

        the County of Maui Real Property Assessment Division website, Hawaii

        Department of Transportation website, Maui County Shoreline Access

        website, Google maps, and other open source information. See the following

        links: https://qpublic.schneidercorp.com/Application.aspx?

        AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427

        170&KeyValue=340080530000 , https://hidot.hawaii.gov/highways/ ,

        https://www.mauishorelineaccess.net

     5. I certify that the maps are accurate to the best of my knowledge.
Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 4 of 12 PageID.1269



        FURTHER, DECLARANT SAYETH NAUGHT.

  I certify under penalty of perjury that the foregoing is true and correct.

            Executed on July 21, 2023.

                                                 _________________
                                                 Atom Kasprzycki
                                   Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 5 of 12 PageID.1270
                                                                               Maui County Accessible Areas Map Key
                                                                               Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                               Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                               Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                               Kalawao County, Molokai - Excluded




            1
                     Maui County Pre SB-1230
                     0 1 2 3 4 5        10                   20 Miles




                                             Maui County Accessible Areas Map - Pre SB1230                                                                                                Sheet Number:
Note: The information contained in this map is approximated and has been obtained from the County of Maui Real Property Assessment Division website and other open source information.
See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                    01
                                   Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 6 of 12 PageID.1271
                                                                                 Maui County Accessible Areas Map Key
                                                                                 Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                                 Kalawao County, Molokai - Excluded




                   Public Area Summary Pre SB-1230
                   Maui County:                                                                                                    1,137 Square Miles
                   Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public:               814 Square Miles
                   Remaining Property (11.4 Square Miles +/- of public sidewalks and roadways included):                             323 Square Miles

                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed:             318.3 Square Miles (98.5 % of Remaining Property)
                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed:           4.7 Square Miles ( 1.5 % of Remaining Property)


                                              Maui Island Accessible Areas Map - Pre SB1230                                                                                                 Sheet Number:
Note: The information contained in this map is approximated and has been obtained from the County of Maui Real Property Assessment Division website and other open source information.
See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                      02
                                   Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 7 of 12 PageID.1272
                                                                                 Maui County Accessible Areas Map Key
                                                                                 Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                                 Kalawao County, Molokai - Excluded




                   Public Area Summary Pre SB-1230
                   Maui County:                                                                                                    1,137 Square Miles
                   Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public:               814 Square Miles
                   Remaining Property (11.4 Square Miles +/- of public sidewalks and roadways included):                             323 Square Miles

                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed:             318.3 Square Miles (98.5 % of Remaining Property)
                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed:           4.7 Square Miles ( 1.5 % of Remaining Property)


                                           Molokai Island Accessible Areas Map - Pre SB1230                                                                                                 Sheet Number:
Note: The information contained in this map is approximated and has been obtained from the County of Maui Real Property Assessment Division website and other open source information.
See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                      03
                                   Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 8 of 12 PageID.1273
                                                                                 Maui County Accessible Areas Map Key
                                                                                 Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                                 Kalawao County, Molokai - Excluded




                   Public Area Summary Pre SB-1230
                   Maui County:                                                                                                    1,137 Square Miles
                   Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public:               814 Square Miles
                   Remaining Property (11.4 Square Miles +/- of public sidewalks and roadways included):                             323 Square Miles

                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed:             318.3 Square Miles (98.5 % of Remaining Property)
                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed:           4.7 Square Miles ( 1.5 % of Remaining Property)
                  Special Note for Lanai: Private property hunting and recreation areas excluded.

                                             Lanai Island Accessible Areas Map - Pre SB1230                                                                                                 Sheet Number:
Note: The information contained in this map is approximated and has been obtained from the County of Maui Real Property Assessment Division website and other open source information.
See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                      04
                                   Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 9 of 12 PageID.1274
                                                                               Maui County Accessible Areas Map Key
                                                                               Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                               Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                               Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                               Kalawao County, Molokai - Excluded




            1
                     Maui County Post SB-1230
                     0 1 2 3 4 5        10                   20 Miles




                                             Maui County Accessible Areas Map - Post SB1230                                                                                               Sheet Number:
Note: The information contained in this map is approximated and has been obtained from the County of Maui Real Property Assessment Division website and other open source information.
See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                    05
                                  Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 10 of 12 PageID.1275
                                                                                 Maui County Accessible Areas Map Key
                                                                                 Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                                 Kalawao County, Molokai - Excluded




                   Public Area Summary Post SB-1230
                   Maui County:                                                                                                    1,137 Square Miles
                   Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public:               814 Square Miles
                   Remaining Property (11.4 Square Miles +/- of public sidewalks and roadways included):                             323 Square Miles

                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed:              11.4 Square Miles ( 3.6 % of Remaining Property)
                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed:         311.6 Square Miles (96.4 % of Remaining Property)


                                             Maui Island Accessible Areas Map - Post SB1230                                                                                                 Sheet Number:
Note: The information contained in this map is approximated and has been obtained from the County of Maui Real Property Assessment Division website and other open source information.
See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                      06
                                  Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 11 of 12 PageID.1276
                                                                                 Maui County Accessible Areas Map Key
                                                                                 Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                                 Kalawao County, Molokai - Excluded




                   Public Area Summary Post SB-1230
                   Maui County:                                                                                                    1,137 Square Miles
                   Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public:               814 Square Miles
                   Remaining Property (11.4 Square Miles +/- of public sidewalks and roadways included):                             323 Square Miles

                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed:              11.4 Square Miles ( 3.6 % of Remaining Property)
                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed:         311.6 Square Miles (96.4 % of Remaining Property)


                                         Molokai Island Accessible Areas Map - Post SB1230                                                                                                  Sheet Number:
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See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                      07
                                  Case 1:23-cv-00265-LEK-WRP Document 61-2 Filed 07/21/23 Page 12 of 12 PageID.1277
                                                                                 Maui County Accessible Areas Map Key
                                                                                 Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed
                                                                                 Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed
                                                                                 Kalawao County, Molokai - Excluded




                   Public Area Summary Post SB-1230
                   Maui County:                                                                                                    1,137 Square Miles
                   Federal, State, County and Private Property Not Open to the Public or Not Accessible by the Public:               814 Square Miles
                   Remaining Property (11.4 Square Miles +/- of public sidewalks and roadways included):                             323 Square Miles

                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Allowed:              11.4 Square Miles ( 3.6 % of Remaining Property)
                   Federal, State, County and Private Property Open to the Public: Concealed Carry Weapon (CCW) Not Allowed:         311.6 Square Miles (96.4 % of Remaining Property)
                  Special Note for Lanai: Private property hunting and recreation areas excluded

                                            Lanai Island Accessible Areas Map - Post SB1230                                                                                                 Sheet Number:
Note: The information contained in this map is approximated and has been obtained from the County of Maui Real Property Assessment Division website and other open source information.
See the following link: https://qpublic.schneidercorp.com/Application.aspx?AppID=1029&LayerID=21689&PageTypeID=1&PageID=9248&Q=816427170&KeyValue=340080530000                                      08
